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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

BYRON BREEZE, JR., individually,                       *
                                                       *
                Plaintiff,                             *
                                                       *
v.                                                     * Civil Action No. 1:22-cv-916-TSC
                                                       *
2323 TTTDC ON 18TH, LLC d/b/a                          *
Town Tavern, a District of Columbia                    *
limited liability company,                             *
RACHEL ASKARINAM WAGNER,                               *
individually, and ELIZABETH MAKRIS,                    *
individually,                                          *
                                                       *
                Defendants.                            *

                             NOTICE OF VOLUNTARY DISMISSAL

          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff BYRON BREEZE,

JR., by and through undersigned counsel, hereby files this Notice of Voluntary Dismissal with

Prejudice as to all Defendants.

Dated this 8th day of June 2022.

                                                 BASHIAN & PAPANTONIOU, P.C.

                                                 By:
                                                        /s/ Erik M. Bashian, Esq.______
                                                        Erik M. Bashian, Esq.
                                                        Attorney for Plaintiff
                                                        500 Old Country Road, Suite 302
                                                        Garden City, NY 11530
                                                        Email: eb@bashpaplaw.com
                                                        (516) 279-1554




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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing instrument was e-filed with the
     Clerk of Court using CM/ECF this 16th day of June, 2022.


                                                       By:   /s/ Erik M. Bashian, Esq.
                                                              ERIK M. BASHIAN, ESQ.
                                                             eb@bashpaplaw.com
                                                             D.C. Bar No. 1657407




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